                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________


No. 24-1151                                                     September Term, 2024
                                                                               EPA-89FR37028
                                                       Filed On: February 4, 2025 [2098826]
United Steel, Paper and Forestry, Rubber,
Manufacturing, Energy, Allied Industrial and
Service Workers International Union,
AFL-CIO,

                   Petitioner

         v.

Environmental Protection Agency,

                   Respondent

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Olin Corporation, et al.,
                   Intervenors
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Consolidated with 24-1182, 24-1185,
24-1202, 24-1237

                                             ORDER

       Upon consideration of the motion of intervenor Olin Corporation to continue the
oral argument, and the opposition thereto, it is

      ORDERED that the motion be denied. These consolidated cases remain
scheduled for oral argument on March 21, 2025.

                                            Per Curiam

                                                              FOR THE COURT:
                                                              Clifton B. Cislak, Clerk

                                                      BY:     /s/
                                                              Michael C. McGrail
                                                              Deputy Clerk
